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 9                          UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
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12     POUPAK BAREKAT, an                     Case No. 8:20-cv-00978-AB-ADS
       individual,
13
                                                  ORDER DISMISSAL WITH
14     Plaintiff,                                 PREJUDICE
15     v.
16
       ANYORK LEE and WUNTSUN
17     LEE, et al,
18
       Defendants.
19

20
            After consideration of the Joint Stipulation for Dismissal with Prejudice filed
21
     by Plaintiff Poupak Barekat (“Plaintiff”) and Anyork Lee and Wuntsun Lee
22
     (“Defendants”), the Court hereby DISMISSES WITH PREJUDICE Plaintiff’s
23
     Complaint in its entirety. Each party to bear his or its own costs and attorneys’ fees.
24
     IT IS SO ORDERED.
25
     DATED: September 25, 2020
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                                      UNITED STATES DISTRICT JUDGE
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